                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

      ROSCOE BENTON, III                                       Case No. 09-36642-dof
      and DESI NAJUANA BENTON,                                 Chapter 7 Proceeding
            Debtors.                                           Hon. Daniel S. Opperman
_____________________________________/

      OPINION DENYING DEBTORS’ MOTION TO VOID BANKRUPTCY CASE
  AND DENYING DEBTORS’ SUPPLEMENTAL MOTION TO STRIKE SCHEDULES A-J
        AND SUMMARY OF SCHEDULES FILED ON DECEMBER 22, 2009,
            AND TO DETERMINE BANKRUPTCY CASE IS DISMISSED
              NUNC PRO TUNC PURSUANT TO 11 U.S.C. § 521(i)(1)

                                             Introduction

         Because no one can produce an original “wet ink” signature of the Debtors’ Chapter 13

Petition, Declaration Concerning Debtors’ Schedules, or Declaration Under Penalty of Perjury by

Individual Debtors for the Debtors’ Statement of Financial Affairs filed with the Court in December

of 2009, the Debtors request that this Court void their Chapter 7 case, strike certain papers filed with

the Court, and dismiss their Chapter 7 case nunc pro tunc. The United States Trustee and the

Chapter 7 Trustee, Samuel Sweet, object to the Debtors’ requests for relief. For the reasons stated

in this Opinion, the Court denies the Debtors’ requests for relief.

         The Court held evidentiary hearings regarding the Debtors’ Motions on September 22, 2015,

October 5, 2015, and October 6, 2015. Closing arguments were held on December 8, 2015, and the

Court took this matter under advisement. After hearing the testimony of the witnesses at the

evidentiary hearing, reviewing the admitted exhibits, and reviewing papers filed with the Court, the

Court makes the following findings of fact.

                                           Findings of Fact

                                                   1



 09-36642-dof       Doc 463      Filed 02/12/16        Entered 02/12/16 09:33:44       Page 1 of 20
       A Chapter 13 Petition for the Debtors was filed with the Court on December 14, 2009. This

Petition was filed by Melissa DiGiamberdine, an associate of Henry Sefcovic. Mr. Sefcovic knew

Mr. Benton because he represented Mr. Benton in a prior bankruptcy. The Debtors believed they

needed bankruptcy protection because of a pending action by a land contract vendor in which the

Debtors were the vendees. A judgment entered against the Debtors and in favor of the vendor stated

a deadline of December 15, 2009, for the Debtors to vacate their home, which was the subject matter

of the land contract. The Debtors did not want to lose their home, so Mr. Benton contacted Mr.

Sefcovic and the Bentons met with Mr. Sefcovic on December 8, 2009. At this meeting, it was

agreed that the Bentons would need to file a Chapter 13 Petition and Mr. Sefcovic began work on

a strategy to allow the Debtors to keep their home and repay their land contract vendor. To that end,

Mr. Sefcovic began preparing certain documents as early as December 8, 2009. As he needed

additional information from the Debtors, Mr. Sefcovic did not have complete Schedules or a

Statement of Financial Affairs prepared when he met with Mr. Benton on December 8, 2009.

Subsequently, however, a Voluntary Petition was filed with the Court on December 14, 2009, which

included a Declaration Concerning Debtors’ Schedules. These papers contained the name of each

Debtor with the designation “/s/”. The Declaration Concerning Debtors’ Schedules is out of place

in that the Debtors’ Schedules were not filed with the Court until December 22, 2009, and this

Declaration was missing from the Schedules. The Statement of Financial Affairs filed on December

22, 2009, did contain a Declaration with the same designation “/s/”. Each Debtor also filed a

Certificate of Budget and Credit Counseling taken by the Debtors on December 14, 2009.

       The Chapter 13 Trustee filed a Motion to Dismiss on January 20, 2010, and the first meeting

of creditors of the Debtors was held on January 26, 2010. Relevant portions of that transcript

                                                 2




 09-36642-dof      Doc 463      Filed 02/12/16       Entered 02/12/16 09:33:44      Page 2 of 20
include:

           ...

              THE TRUSTEE: They did. Okay. We have reviewed driver’s license and
       Social Security information for Mr. and Mrs. Benton. The information provided
       matches the information in the file. Would you raise your right hands, please.

                      ROSCOE AND DESI BENTON, DEBTORS, SWORN

       BY THE TRUSTEE:
       Q.   Ma’am, would you state your name.
       A.   (Mrs. Benton) Desi Benton.
       Q.   And sir, your name?
       A.   (Mr. Benton) Roscoe Benton

       ...

       Q.      Mr. and Mrs. Benton, I’m going to show you here a copy of all the papers
       that have been filed on your behalf in this bankruptcy matter. Do these papers look
       familiar to you?
       A.      (Mr. Benton) Yes.
       A.      (Mrs. Benton) Yes.
       Q.      Right here I’m going to show you the petition. It has your names on it right
       there?
       A.      (Mr. Benton) Yes.
       A.      (Mrs. Benton) Okay.
       Q.      There’s a signature line right here. Sir - - and your attorney has the original
       of that. Sir, can you identify your signature there?
       A.      (Mr. Benton) Yes.
       Q.      And ma’am, can you identify your signature?
       A.      (Mrs. Benton) Yes.
       Q.      And when you signed those papers, did you sign a number of other pages as
       well?
       A.      (Mr. Benton) Yes.
       A.      (Mrs. Benton) Yes.
       Q.      And when you signed those pages, were you indicating by signing that you
       had reviewed the information in those pages?
       A.      (Mr. Benton) Yes.
       A.      (Mrs. Benton) Yes.
       Q.      And that that information was true and correct to the best of your knowledge?
       A.      (Mr. Benton) Yes.
       A.      (Mrs. Benton) Yes.
       Q.      Are there changes to that information since the day you signed?


                                                 3


 09-36642-dof      Doc 463     Filed 02/12/16        Entered 02/12/16 09:33:44       Page 3 of 20
       A.      (Mr. Benton) No.
       A.      (Mrs. Benton) No.

       ...

       Q.      Okay. All right. I’m going to show you here the schedule regarding current
       income. I’m circling an employer and address, sir. Is that your current employer and
       the current address?
       A.      (Mr. Benton) Yes.
       Q.      Ma’am, is that your current employer and correct address?
       A.      (Mrs. Benton) Yes.

       Because the Chapter 13 Trustee was satisfied with the responses of the Debtors at their first

meeting of creditors, the Motion to Dismiss was withdrawn on January 27, 2010. Afterward, the

Chapter 13 Trustee and a creditor, AmeriCredit Financial Services, Inc., objected to the Debtors’

Chapter 13 Plan and the Court held an evidentiary hearing regarding the objection by AmeriCredit

on May 25, 2010. After the conclusion of the evidentiary hearing, the Court entered a bench opinion

on June 4, 2010, and the Debtors were able to amend their Chapter 13 Plan such that the Court

confirmed their Chapter 13 Plan on June 10, 2010. After the Court confirmed the Debtors’ Chapter

13 Plan, the Debtors objected to the claim of the Internal Revenue Service, but that objection was

withdrawn on October 1, 2010.

       Over one year after the original Chapter 13 Petition was filed, the Debtors completed their

financial management course and a Certification of Completion was filed with the Court on March

21, 2011. Subsequently, the Chapter 13 Trustee filed a Motion to Dismiss on August 3, 2011, and

the Debtors responded to that Motion to Dismiss on August 12, 2011. After Mr. Benton consulted

with Mr. Sefcovic, the Debtors elected to convert their Chapter 13 case to Chapter 7 on October 17,

2011. As a result of this conversion, the Debtors filed a Chapter 7 Statement of Current Monthly



                                                4




 09-36642-dof      Doc 463     Filed 02/12/16       Entered 02/12/16 09:33:44      Page 4 of 20
Income and Means Test Calculation and Cover Sheet for Amendments to Schedules on October 18,

2011. On November 10, 2011, Chapter 7 Trustee, Samuel Sweet, held a first meeting of creditors.

Relevant portions of that transcript include:

       You folks raise your right hands, please.

                     ROSCOE AND DESI BENTON, DEBTORS, SWORN

       BY THE TRUSTEE:
       Q.     Sir, would you state your full name for the record.
       A.     (Mr. Benton) Roscoe Benton III.
       Q.     Ma’am, would you state your full name for the record.
       A.     (Mrs. Benton) Desi Benton.
       Q.     Did you folks have an opportunity to read and review the bankruptcy
       schedules before you signed them?
       A.     (Mr. Benton) Yes.
       A.     (Mrs. Benton) Yes.
       Q.     Did you find them to be a true and accurate reflection of your financial
       condition at the time you signed them?
       A.     (Mr. Benton) Yes.
       Q.     Did you list all your assets, liabilities and other financial transactions as
       required?
       A.     (Mr. Benton) Yes.
       A.     (Mrs. Benton) Yes.

       Although Trustee Sweet originally closed the Debtors’ case because he did not find assets

to administer, he became aware of assets and filed a Withdrawal of Trustee’s No Asset Report on

December 15, 2011, and began investigation into the Debtors’ assets and financial affairs. A Federal

Rules of Bankruptcy Procedure 2004 Exam was ordered in January of 2012, compelling the Debtors

to appear and answer additional questions regarding their assets. Subsequently, Trustee Sweet filed

an adversary proceeding naming Ms. Benton as a defendant seeking the denial of her discharge

pursuant to 11 U.S.C. § 727. This Complaint, filed on May 30, 2012, stated in the first paragraph:

       On December 14, 2009, Debtor filed a Voluntary Petition under Chapter 13 of the
       Bankruptcy Reform Act of 1978, as Amended, Title 11 with her spouse, Roscoe
       Benton, III (collectively referred to as “Debtor”).


                                                   5


 09-36642-dof      Doc 463      Filed 02/12/16         Entered 02/12/16 09:33:44    Page 5 of 20
In her Answer to the Complaint, Ms. Benton stated in response to this allegation:

       Admit

In paragraph 7 of the Complaint, Trustee Sweet alleged:

       Pursuant to the Debtor’s initially filed Statement of Financial Affairs (“SOFA”), the
       Debtor, under oath, asserted that she owned personal property with a value of $6,000
       and no real property.

In response, Ms. Benton stated:

       Neither admit nor deny, the documents speak for themselves.

In paragraph 9, Trustee Sweet alleged:

       The Debtors received lottery winnings prior to the filing of the Chapter 13
       bankruptcy petition that was not disclosed.

In response, Ms. Benton stated:

       Admit to having lottery winnings in 2007, which were disclosed on line one of
       Debtors Statement of Financial Affairs as part of “Debtor (wife) 2007 income”.

In paragraph 11, Trustee Sweet alleged:

       Debtor failed to disclose her interest, whether it be in the form of legal and or
       equitable title in that real estate, failed to list that interest in Schedule A, Schedule
       B or the initial Statement of Financial Affairs, any amendments thereto filed with the
       Court and that omission was reaffirmed at the 341 hearing when the Debtor testified
       that the Petition and Schedules were accurate.

In response, Ms. Benton stated:

       Deny that Debtors had an obligation to amend documents that accurately reflected
       their financial situation at that time of filing.

       As a result of this adversary proceeding, Ms. Benton was denied a discharge. From 2012-

2014, the Chapter 7 Trustee and the Debtors engaged in a series of maneuvers to resolve potential

issues raised by the Debtors’ failure to fully or accurately disclose their assets or financial affairs.



                                                   6


 09-36642-dof       Doc 463      Filed 02/12/16        Entered 02/12/16 09:33:44       Page 6 of 20
Despite these efforts, however, the Debtors were ultimately required to surrender possession of their

then existing home at 5260 Fairway Trail, Grand Blanc, Michigan and move to another home. The

Chapter 7 Trustee sold their home and the Court ordered that certain payments be made to the

Debtors to allow them to relocate.

       On February 19, 2014, the Debtors were indicted in the District Court for the Eastern District

of Michigan, Southern Division. The District Court held a trial on November 18 and 19, 2014, and

the jury returned a verdict as follows:

       COUNT ONE: Bankruptcy Fraud

               As to Count One of the indictment, we, the jury, by unanimous verdict, find:

       ROSCOE BENTON, III                              Not Guilty T          Guilty
       DESI NAJUANA BENTON                             Not Guilty T          Guilty

       COUNT TWO: Bankruptcy Fraud

               As to Count Two of the indictment, we, the jury, by unanimous verdict, find:

       ROSCOE BENTON, III                              Not Guilty            Guilty    T
       DESI NAJUANA BENTON                             Not Guilty T          Guilty

       COUNT THREE: Mail Fraud

               As to Count Three of the indictment, we, the jury, by unanimous verdict,
       find:

       ROSCOE BENTON, III                              Not Guilty            Guilty    T
       DESI NAJUANA BENTON                             Not Guilty            Guilty    T


       COUNT FOUR: Bankruptcy Fraud

               As to Count Four of the indictment, we, the jury, by unanimous verdict, find:

       ROSCOE BENTON, III                              Not Guilty            Guilty    T
       DESI NAJUANA BENTON                             Not Guilty            Guilty    T

       COUNT FIVE: Bankruptcy Fraud

                                                 7


 09-36642-dof      Doc 463      Filed 02/12/16       Entered 02/12/16 09:33:44        Page 7 of 20
               As to Count Five of the indictment, we, the jury, by unanimous verdict, find:

       ROSCOE BENTON, III                               Not Guilty            Guilty    T
       DESI NAJUANA BENTON                              Not Guilty            Guilty    T

       After their trial, the Debtors filed an Emergency Motion for an Order Directing Trustee to

Pay to Debtors the Funds From the Sale of 5260 Fairway Trail. In that Motion, the Debtors alleged

in paragraph 1:

       1. That Debtors filed for chapter 13 protection on or about December 14, 2009.

The Court denied the relief requested by the Debtors.

       A few days later, the Debtors filed an Emergency Motion Requesting that the Debtors

Chapter 7 Case Be Reverted Back to a Chapter 13 and Relinquishment of Monies Being Held By

Trustee. In that Motion, the Debtors state:

       1. That the Benton’s [sic] filed for chapter 13 on or about December 14, 2009.
       2. That the Debtors Chapter 13 was illegally converted to a chapter 7 on or about
       October 17, 2011.
       3. That the Debtors never gave permission verbally or written to have their chapter
       13 converted to a chapter 7.
       ...
       6. That the Debtors never signed a petition to convert their chapter 13 to a chapter 7.

       The Court denied this Motion of the Debtors as well. During this same time, affidavits of

the Debtors were filed with the Court that were supposedly signed by each Debtor. At the

evidentiary hearings, however, Mr. Benton admitted that some affidavits were not signed by Ms.

Benton, but instead by another female.

       In March of 2015, the Debtors retained another attorney. After much investigation, the

Debtors filed the instant motions and seek to have their case voided or, in the alternative, dismissed

nunc pro tunc. The Court heard testimony from various attorneys who formally represented the

Debtors, including Mr. Sefcovic, Melissa DiGiamberdine, and Alan Walton. Another attorney,


                                                  8


 09-36642-dof      Doc 463      Filed 02/12/16        Entered 02/12/16 09:33:44        Page 8 of 20
Todd Nye, testified that he received a number of files from Mr. Sefcovic when he retired, but that

none of the files that Mr. Nye received contained the original signature of the Debtors. Mr. Nye also

testified that the files he did receive from Mr. Sefcovic were disorganized. The Court also received

the testimony of Barbara Foley, the attorney for the Chapter 13 Trustee during the Debtors’ Chapter

13 case, who is now a Chapter 13 Trustee for the Western District of Michigan. The Court also

received testimony from both Mr. and Ms. Benton.

       Mr. Sefcovic testified that the person who picked up the files from him and delivered them

to Mr. Nye did so in an open trailer, with the suggestion that perhaps certain papers flew out in

transit from Mr. Sefcovic’s office to Mr. Nye’s office. Although not directly stated at the

evidentiary hearing, the Court notes that Mr. Sefcovic filed a Chapter 7 Petition seeking relief with

this Court on February 10, 2015, and was granted a discharge, essentially removing any obligations

he may owe to Mr. and Ms. Benton. Mr. Sefcovic testified that he did see the original “wet ink”

signatures of the Bentons on both the Petition and various other papers, such as the Declaration

Concerning Debtors’ Schedules and Statement of Financial Affairs. Per Mr. Sefcovic, he witnessed

the signing of some of these documents in his office as early as December 8, 2009, but did not see

the signing of other documents. Mr. Sefcovic also testified that since this was a Chapter 13

proceeding, Ms. DiGiamberdine, his associate at the time, would have been the individual in charge

of handling the matter in Court and, in fact, it appears that many of the papers initially filed on

behalf of the Debtors were filed by Ms. DiGiamberdine or under her direction. Mr. Sefcovic also

testified that after Ms. DiGiamberdine left his employment and the Debtors were having trouble in

their Chapter 13, he advised them regarding their rights to continue in Chapter 13 or convert to

Chapter 7 and that he believed that conversion to Chapter 7 was the appropriate procedure. He

therefore converted the Debtors to Chapter 7.

                                                 9


 09-36642-dof      Doc 463      Filed 02/12/16       Entered 02/12/16 09:33:44      Page 9 of 20
       Mr. Walton testified that he was contacted by Mr. Sefcovic, who at the time was suffering

from cancer, regarding the adversary proceeding brought by the Chapter 7 Trustee against Ms.

Benton. Mr. Walton thought that he could perhaps work out an arrangement with the Chapter 7

Trustee, but his efforts failed. At no time did Mr. Walton see original “wet ink” signatures, even

though Mr. Sefcovic testified that he thought Mr. Walton had Mr. Sefcovic’s file.

       Ms. DiGiamberdine testified regarding her handling of the Chapter 13 and, in particular, the

first meeting of creditors conducted by Ms. Foley. Per Ms. DiGiamberdine, Ms. Foley would point

out to the Debtors their signatures and ask for affirmation that signature appeared on the Petition.

Ms. Foley, in contrast, does not have such a specific memory of either the Debtors or of her protocol

during this time, but did indicate that she would point out to the Debtors various documents,

including the Petition, Schedules, Statement of Financial Affairs.

       Ms. Benton testified that she was informed by her husband that they needed to file

bankruptcy and she accompanied her husband to Mr. Sefcovic’s office on December 8, 2009. She

recalls meeting with Mr. Sefcovic and going over their various options and that they concluded that

Chapter 13 was their best solution. At various times during her testimony, Ms. Benton equivocated

between not recalling if she signed the Petition and Declarations Concerning Debtors’ Schedules

and Statement of Financial Affairs, and not signing such.

       Mr. Benton testified and denied signing any Petition or Declaration Concerning Debtors’

Schedules and Statement of Financial Affairs. Both Mr. and Ms. Benton testified, however, that

they believed they needed Chapter 13 relief with this Court and assumed that Mr. Sefcovic, and by

extension, Ms. DiGiamberdine, represented their interests.

       To complete the statement of facts, the Court also notes that the Debtors signed an Affidavit

in Support of Motion to Void Case stating:



                                                 10
09-36642-dof      Doc 463      Filed 02/12/16     Entered 02/12/16 09:33:44         Page 10 of 20
       Roscoe Benton III and Desi N. Benton, being duly sworn, depose and say:

       1. That the within Chapter 13 Petition was filed either by Henry J. Sefcovic or
       Melissa DiGiamberdine on December 14, 2009.
       2. That we met with Henry J. Sefcovic for the filing of the case prior to that date at
       his office in Bay City.
       ...
       4. That at no time were we required to sign the documents to be filed with the
       Bankruptcy Court to commence the within case.
       5. That at no time did we authorize either attorney to sign any documents on our
       behalf.
       6. That at no time did we authorize either attorney to electronically forge our
       signatures.
       7. That at no time did we sign any of the documents necessary to commence the
       bankruptcy case, in particular those identified in docket entry number 1 of the court’s
       docket report attached hereto.
       8. That, in particular, we never signed page 3 of the voluntary petition requesting
       relief in accordance with the chapter of tile 11, United States Code, specified in this
       petition as attached hereto.
       9. That at no time did we sign any document purporting to convert the case to a
       chapter 7, in particular, docket entry 68 “Notice of Voluntary Conversion From
       Chapter 13 to Chapter 7" as attached hereto.

                                            Jurisdiction

       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157, 28 U.S.C. § 1334,

and E.D. Mich. LR 83.50. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate). All matters raised by the motions are based on Title

11 of the United States Code and are therefore within the jurisdiction of this Court.

                                              Analysis

       The Debtors seek the extraordinary relief of the voiding of their bankruptcy case that was

filed over six years ago in 2009. Their theory is that they did not authorize Mr. Sefcovic to file the

Chapter 13 Petition, did not authorize him to sign any papers, electronically or otherwise, on their

behalf, and that the failure of anyone to produce their original “wet ink” signatures is grounds to


                                                 11




09-36642-dof       Doc 463     Filed 02/12/16      Entered 02/12/16 09:33:44         Page 11 of 20
void this case. Alternatively, Debtors ask this Court to strike their Schedules A-J and Summary of

Schedules filed on December 22, 2009, filed at Docket No. 12, and dismiss their case nunc pro tunc

pursuant to 11 U.S.C. § 521(i)(1) as of the 46th day of the filing of the bankruptcy. The Court

denies the Debtors’ Motion for the following reasons.

There is no statute or rule providing for the remedy requested by the Debtors.

       At the December 8, 2015, closing argument, Debtors’ counsel requested that this Court

follow the statute. The Court inquired as to what statute the Debtors wanted the Court to follow and

Debtors’ counsel could not supply such a statute. At least two statutes are applicable, namely 11

U.S.C. §§ 301 and 302, which read in pertinent part:

       11 U.S.C. § 301 - Voluntary Cases

         (a) A voluntary case under a chapter of this title is commenced by the filing with
       the bankruptcy court of a petition under such chapter by an entity that may be a
       debtor under such chapter.
         (b) The commencement of a voluntary case under a chapter of this title constitutes
       an order for relief under such chapter.

       11 U.S.C. § 302 - Joint Cases

          (a) A joint case under a chapter of this title is commenced by the filing with the
       bankruptcy court of a single petition under such chapter by an individual that may
       be a debtor under such chapter and such individual’s spouse. The commencement
       of a joint case under a chapter of this title constitutes an order for relief under such
       chapter.
          (b) After the commencement of a joint case, the court shall determine the extent,
       if any, to which the debtors’ estates shall be consolidated.

       A clear and plain reading of both statutes indicates that a case is commenced by the filing

of a petition. Neither statute requires or states that the petition must be signed by the debtor or

debtors, as the case may be. Seeing no statutory mandate in the Bankruptcy Code itself, the Federal

Rules of Bankruptcy Procedure perhaps have such a requirement. The possible pertinent rules


                                                 12



09-36642-dof      Doc 463      Filed 02/12/16      Entered 02/12/16 09:33:44         Page 12 of 20
include:

       Rule 1002. Commencement of Case

         (a) Petition. A petition commencing a case under the Code shall be filed with the
       clerk.
        (b) Transmission to United States Trustee. The clerk shall forthwith transmit to the
       United States trustee a copy of the petition filed pursuant to subdivision (a) of this
       rule.

       Rule 1008. Verification of Petitions and Accompanying Papers

        All petitions, lists, schedules, statements and amendments thereto shall be verified
       or contain an unsworn declaration as provided in 28 U.S.C. § 1746.

       Rule 9011. Signing of Papers; Representations to the Court; Sanctions; Verification
       and Copies of Papers

         (a) Signature. Every petition, pleading, written motion, and other paper, except a
       list, schedule, or statement, or amendments thereto, shall be signed by at least one
       attorney of record in the attorney’s individual name. A party who is not represented
       by an attorney shall sign all papers. Each paper shall state the signer’s address and
       telephone number, if any. An unsigned paper shall be stricken unless omission of
       the signature is corrected promptly after being called to the attention of the attorney
       or party.

       Of these Rules, Rule 9011(a) is the most specific in that that Rule requires that a petition be

signed by at least one attorney of record, unless the party is not represented by an attorney. In that

instance, the unrepresented person must sign all papers. Again, none of the Rules found by the

Court support the Debtors’ contention that they have to sign a petition.

       The Court’s own ECF Procedures, however, supports Debtors’ position.

       ECF Procedure 10 Retention Requirements

         (a) Retention of a Paper with an Original Signature. Each Paper that must contain
       an original signature by a person other than the Filer or User, or that is required to
       be verified under Rule 1008 or as provided in 28 U.S.C. §1746 by a person other
       than the Filer or User, shall be filed electronically by a Filer or a User. The Paper
       containing the original signature shall be retained by the Filer or User who files the
       Paper for five years after the closing of the case or adversary proceeding. This

                                                 13



09-36642-dof       Doc 463     Filed 02/12/16      Entered 02/12/16 09:33:44         Page 13 of 20
       retention does not affect or replace any other retention period required by other
       applicable laws or rules.

         (b) Sanctions; Production of Original Papers. Failure to maintain a Paper for the
       specified period shall subject the Filer or User to sanctions, including disgorgement
       of fees. On request of the Court or any party in interest, the Filer or User shall
       provide the original Paper for review.

       In turn, 28 U.S.C. § 1746, as referenced in Procedure 10, as well as Rule 1008, states:

       Wherever, under any law of the United States or under any rule, regulation, order,
       or requirement made pursuant to law, any matter is required or permitted to be
       supported, evidenced, established, or proved by the sworn declaration, verification,
       certificate, statement, oath, or affidavit, in writing of the person making the same
       (other than a deposition, or an oath of office, or an oath required to be taken before
       a specified official other than a notary public), such matter may, with like force and
       effect, be supported, evidenced, established, or proved by the unsworn declaration,
       certificate, verification, or statement, in writing of such person which is subscribed
       by him, as true under penalty of perjury, and dated, in substantially the following
       form:

       (1) If executed with the United States: “I declare (or certify, verify, or state) under
       penalty of perjury under the laws of the United States of America that the foregoing
       is true and correct. Executed on (date). (Signature)”.

       (2) If executed within the United States, its territories, possessions, or
       commonwealths: “I declare (or certify, verify, or state) under penalty of perjury that
       the foregoing is true and correct. Executed on (date). (Signature).”

       With all of this, the Court notes that the strongest authority for the Debtors, namely

Procedure 10, has its own built in remedy in that disgorgement of fees is appropriate. Procedure 10

states as much and, as importantly, does not provide for additional remedies as the Court may deem

appropriate.

       After close review of the applicable statutes and rules, the Court concludes that to the extent

the Debtors needed to sign their Petition, the remedy for the failure to provide an original “wet ink”

signature is disgorgement, not the voiding or dismissal of a case.

The failure to produce an original “wet ink” signature has evidentiary, but not substantive effect.

                                                 14



09-36642-dof       Doc 463     Filed 02/12/16      Entered 02/12/16 09:33:44         Page 14 of 20
       Procedure 10 is designed to have a straightforward evidentiary path to show that a party

authorized an attorney to file a paper. The concept is straightforward: an attorney prepares a paper,

reviews that paper with the client, the client authorizes the filing of the paper by signing the paper,

and the attorney files the paper. This procedure protects both the attorney and the client as there is

no question as to the nature of the paper filed with the Court. By producing the original “wet ink”

signature, both the attorney and the client are protected.

       Procedure 10 also addresses the issue of when an original “wet ink” signature is not

available. The procedure does not suggest that the document was improperly filed or is inaccurate,

but instead penalizes the one party charged with the safe keeping of that document, namely the

attorney.

       Seeing that this evidentiary rule has not been followed, in that Mr. Sefcovic has not and

cannot produce the original “wet ink” signature of the Debtors, the Court will not summarily void

or dismiss any action resulting from a paper that may have been inappropriately filed. Instead, the

Court notes that the evidentiary presumption in favor of the appropriateness of the paper is now in

question and may be subject to attack and, if appropriate, the striking of that paper or the voiding

or dismissal of a case.

The facts of this case do not support voiding

       This case started when the Chapter 13 Petition was filed on December 14, 2009. From that

date until March of 2015, the Debtors did not object to being within this Court’s jurisdiction. As

was testified at the evidentiary hearings, the Debtors believed they needed relief from this Court and

that relief was granted. On numerous occasions, the Debtors requested affirmative relief from this

Court and in many instances obtained that relief, such as when their Chapter 13 Plan was confirmed.


                                                  15



09-36642-dof       Doc 463      Filed 02/12/16     Entered 02/12/16 09:33:44         Page 15 of 20
Moreover, the Debtors on numerous occasions either admitted that they filed a Chapter 13 Petition

on December 14, 2009, or affirmatively stated that such a Petition was filed. Perhaps even more

noteworthy, the Debtors in January of 2015, and February of 2015, after they were indicted, tried,

and convicted of various federal crimes, reiterated to this Court that such a Petition was filed. In

fact, as late as January 26, 2015, the Debtors, in their Motion requesting conversion back to Chapter

13, stated that they did not sign the pleading to convert their case from Chapter 13 to Chapter 7, but

stated that they did file for Chapter 13 on or about December 14, 2009. Although Debtors’ counsel

may very well be right in that many debtors are unable to understand that there are many differences

regarding nuances in the Bankruptcy Code, the Debtors in this case demonstrated as late as January

of 2015, that they understood the difference between signing a document, authorizing a document,

and not signing a document. If Debtors are to be believed that they did not sign their Petition in

December of 2009, then they could have stated such on January 26, 2015. Instead, they reaffirmed,

again, that they had filed a Chapter 13 Petition.1

        There are numerous entries in this case and many actions in Court, many of which involved

both Mr. and Ms. Benton. Until March of 2015, neither Mr. or Ms. Benton suggested or implied to

this Court that they believed they were in the Court improperly. A review of their actions in this

Court, including the taking of the budget and credit counseling and the financial management

courses all indicate that the Debtors were well aware that they were in Bankruptcy Court and that

they were there on their own volition.

        Moreover, the Debtors’ actions in 2015, suggest to the Court that neither Debtor followed


        1
          The Court has carefully reviewed various pleadings filed either by the Debtors or on behalf of
the Debtors from December of 2009 through January of 2015. On numerous occasions, including their
sworn testimony at their January 26, 2010, First Meeting of Creditors, the Debtors have either
affirmatively stated that they had filed their Chapter 13 Petition or admitted filing such a Petition.

                                                   16


09-36642-dof       Doc 463       Filed 02/12/16      Entered 02/12/16 09:33:44          Page 16 of 20
the rules and procedures requiring the actual signing of a document. As testified by Mr. Benton, he

filed documents in early 2015 that required the signature of Ms. Benton. Instead of having Ms.

Benton sign these documents, he had another individual sign the documents for her. The Court finds

this testimony to be very damaging to Mr. Benton’s credibility and, by some extension, Ms.

Benton’s. Also, the Court cannot ignore the direct testimony by both Mr. and Ms. Benton at their

Chapter 13 first meeting of creditors and their Chapter 7 first meeting of creditors. First, both Mr.

and Ms. Benton must have been notified that they had to appear in Flint, Michigan to attend a first

meeting of creditors. If they had not authorized or signed the appropriate papers, they should have

questioned either Mr. Sefcovic or Ms. DiGiamberdine about those papers. Second, and especially

in regard to the Chapter 13 first meeting of creditors in July of 2010, the questions are direct and the

answers just as direct. From this testimony, the Debtors confirm that they signed each paper and

that those papers were true and accurate.

       The Court also carefully observed the demeanor of all witnesses at the evidentiary hearings

in September and October of 2015. In many regards, the Court cannot fault the testimony of Ms.

Foley, Mr. Walton, or Ms. DiGiamberdine because of the passage of time and their limited

involvement in the case, as well as the volume of cases handled by each individual. The Court

found their testimony to be credible, as well as the testimony of Mr. Nye.

       As for Mr. Sefcovic, his testimony was less credible, but sufficient for the Court to give his

testimony weight, especially when the remaining circumstances of this case are considered. While

the Court does not condone, and in fact condemns, the procedures utilized by Mr. Sefcovic regarding

the intake of information and the retention of documents, the Court finds his testimony to be

sufficiently trustworthy. Also, the bankruptcy discharge granted to Mr. Sefcovic removes any

financial impact that would prompt him to testify as he did. At this stage of the proceedings, Mr.


                                                  17

09-36642-dof       Doc 463      Filed 02/12/16      Entered 02/12/16 09:33:44         Page 17 of 20
Sefcovic has nothing to gain or lose.

       As for Mr. and Ms. Benton, the Court found Ms. Benton more credible than Mr. Benton.

The Court believed many of Ms. Benton’s initial responses to be accurate in that she was not as

involved in the bankruptcy proceedings as her husband, Mr. Benton. Many of her initial answers

were that she did not recall signing various documents, but she solidified her statements upon cross

examination by the United States Trustee.

       Mr. Benton’s testimony, however, is severely damaged by his actions in having documents

filed with this Court that were not signed by his wife. Additionally, Mr. Benton, who seems to be

more of the driving force in this bankruptcy, stated on numerous occasions that a Chapter 13 Petition

was filed and, by implication, signed by him. These inconsistent statements must result in the

conclusion that Mr. Benton is not credible. Finally, the Court must take note that Mr. Benton, and

to a lesser extent Ms. Benton, had much to gain to have this Court conclude that their bankruptcy

should be dismissed or voided. If that were to occur, the Bentons could perhaps argue that their

criminal conviction should be set aside. If so, that is a decision for the United States District Court

for the Eastern District of Michigan to make and not this Court.

The doctrine of laches precludes the relief requested by the Debtors.

       This case has been pending for over six years. The Debtors have entered this Court a number

of times requesting relief under the Bankruptcy Code, paid substantial sums to the Chapter 13

Trustee, and then had substantial sums received by the Chapter 7 Trustee, all with an eye to pay their

creditors. Unlike cases cited by the Debtors where there is a case of stolen identity or a mistake that

was discovered shortly after a case was filed, here, this case has not only been pending for six years,

but the Debtors have been actively involved as Debtors from December of 2009 through February

of 2015. See, e.g., In re Scotto, 2010 WL 1688743 (Bankr. E.D.N.Y. Apr. 26, 2010); In re Woods


                                                  18

09-36642-dof       Doc 463      Filed 02/12/16     Entered 02/12/16 09:33:44         Page 18 of 20
2007 WL 1306427 (Bankr. W.D.Mo. May 1, 2007); and In re Dick, 2006 WL 6544157 (Bankr.

N.D.Tex. May 19, 2006). This is not the type of case where relief should be accorded to the Debtors

because of a mistake. Rather, this is the type of case in which the conduct of the Debtors ratifies

their bankruptcy repeatedly. Too much time and too much effort has been expended to void this

case and then send the parties away to sort out the resulting chaos.

       The doctrine of laches precludes the alternative relief requested by Debtors. “Laches is the

‘negligent and unintentional failure to protect one’s rights.’” Elvis Presley Enter., Inc. v. Elvisly

Yours, Inc., 936 F.2d 889, 894 (6th Cir. 1991). Debtors argue their bankruptcy should be dismissed

nunc pro tunc to the 46th day following their bankruptcy filing because their Schedules were

deficient due to a missing Declaration Concerning Debtor’s Schedules. Specifically, Debtors argue

that their case should have been automatically dismissed for not filing valid schedules supported by

a contemporaneous Declaration within 45 days of case filing. The facts of this case fit squarely

within the definition of laches.

       Moreover, procedural defects under 11 U.S.C. § 521, do not require an automatic dismissal,

as such is discretionary with the Court. Simon v. Amir, 436 B.R 1 (B.A.P. 6th Cir. 2010). Debtors

amended their Schedules, either in whole or in part, at least eight times, affirming such amendments

under penalty of perjury each time, the last amendment having been made to their Schedules I and

J on November 20, 2014, at Docket No. 311. Nunc pro tunc dismissal is not warranted because of

the numerous subsequent amendments to schedules made by Debtors, as well as their conduct

throughout the case at hearings and in pleadings in support of the various positions Debtors have

taken in their bankruptcy case. Thus, in this Court’s discretion, an automatic dismissal was not

required under the facts existing on the 46th day following the December 14, 2009 bankruptcy filing.

Further, the doctrine of laches strengthens such a conclusion based upon Debtors’ conduct for the

                                                 19


09-36642-dof       Doc 463     Filed 02/12/16     Entered 02/12/16 09:33:44         Page 19 of 20
over five years since.

                                            Conclusion

       For the reasons stated in this Opinion, the Court denies the Debtors’ Motion to Void

Bankruptcy Case and Denies Debtors’ Supplemental Motion to Strike Schedules A-J and Summary

of Schedules Filed on December 22, 2009, and to Determine Bankruptcy Case is Dismissed Nunc

Pro Tunc Pursuant to 11 U.S.C. § 521(i)(1). Counsel for the Chapter 7 Trustee is requested to

prepare an order consistent with this Opinion and the presentment of order procedures of this Court.
                                                 .



Signed on February 12, 2016
                                                       /s/ Daniel S. Opperman
                                                     Daniel S. Opperman
                                                     United States Bankruptcy Judge




                                                20


09-36642-dof      Doc 463      Filed 02/12/16     Entered 02/12/16 09:33:44        Page 20 of 20
